      Case: 1:24-cv-01242 Document #: 8 Filed: 03/04/24 Page 1 of 1 PageID #:26




              IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

CANDICE WILHELM, individually and on
behalf of all others similarly situated,
                                                   Case No.: 1:24-cv-1242
                              Plaintiff,
                                                   District Judge LaShonda A. Hunt
               v.
                                                   Magistrate Judge Keri L. Holleb Hotaling
PLAID INC.,
                              Defendant.

                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Thursday March 7, 2024 at 10:00 a.m. or as soon

thereafter as counsel may be heard, the undersigned counsel for Defendant Plaid Inc. (“Plaid”) will

appear before Judge LaShonda A. Hunt, or any judge sitting in her stead in Courtroom 1425 of the

United States District Court, Northern District of Illinois, Eastern Division at 219 South Dearborn

Street, Chicago, Illinois and there present Plaid’s Unopposed Motion for Extension of Time to

Answer or Otherwise Plead [Dkt. 7].


Dated: March 4, 2024                             /s/ Nick Kahlon
                                                 Nick Kahlon
                                                 John K. Theis
                                                 Blake Kolesa
                                                 RILEY SAFER HOLMES & CANCILA LLP
                                                 70 West Madison Street, Suite 2900
                                                 Chicago, Illinois 60602
                                                 Telephone:     (312) 471-8700
                                                 Facsimile:     (312) 471-8701
                                                 nkahon@rshc-law.com
                                                 jtheis@rshc-law.com
                                                 bkolesa@rhsc-law.com

                                                 Counsel for Plaid Inc.
